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   4 Los Angeles, California 90017-2566
     Telephone: (213) 633-6800
   5 Fax: (213) 633-6899
   6 Attorneys for Defendant
     CAR-FRESHNER CORPORATION
   7 (erroneously sued as “Julius Samann Ltd.
     dba Little Tree dba Car-Freshner Corporation”)
   8
   9
  10                                      IN THE U.S. DISTRICT COURT
  11                                SOUTHERN DISTRICT OF CALIFORNIA
  12 IBRAHIM NASSER and SERIOUS                        Case No. 3:17-CV-00863 BTM (MDD)
     SCENTS,
  13                                                   NOTICE OF ERRATA RE
                      Plaintiff,                       APPENDIX OF BERMUDA LAW TO
  14                                                   SPECIALLY APPEARING
          vs.                                          DEFENDANT JULIUS SAMANN
  15                                                   LTD.’S MOTION TO QUASH (DKT.
     JULIUS SAMANN LTD. DBA-LITTLE                     119)
  16 TREE DBA-CAR-FRESHNER
     CORPORATION) and NATURE’S
  17 APPEAL MANUFACTURING                              Action Filed: April 28, 2017
     CORPORATION DBA-STINK
  18 GRENADE) and ENERGIZER
     BRANDS II, LLC DBA-AMERICAN
  19 COVERS INC. DBA-DRIVEN BY
     REFRESH YOUR CAR),
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                      Defendants.
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                                                                   Case No. 3:17-CV-00863 BTM (MDD)

       NOTICE OF ERRATA
       4831-6493-0966v.1 0097958-000006
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   1            TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2            PLEASE TAKE NOTICE that on May 6, 2019, Specially-appearing Defendant
   3 Julius Sämann Ltd. (“JSL”) filed its Motion to Quash Return of Service of Summons
   4 and Fourth Amended Complaint for Improper Service (Dkt. 119) in the above-
   5 captioned action. JSL inadvertently omitted Appendix A of Bermuda law from its
   6 Memorandum of Points and Authorities in support of JSL’S Motion to Quash Return
   7 of Service of Summons and Fourth Amended Complaint for Improper Service,
   8 referenced at Page 6, Footnote 4.
   9            Attached hereto as Exhibit A is a true and correct copy of the Appendix of
  10 Bermuda law to JSL’s Memorandum of Points and Authorities in support of its
  11 Motion to Quash Return of Service of Summons and Fourth Amended Complaint for
  12 Improper Service.
  13 DATED: May 10, 2019                      DAVIS WRIGHT TREMAINE LLP
                                              SCOTT R. COMMERSON
  14                                          NICOLE S. PHILLIS
  15
  16                                          By: /s/ Scott R. Commerson
                                                          Scott R. Commerson
  17
                                                 Attorneys for Defendant
  18                                             CAR-FRESHNER CORPORATION
                                                 (erroneously sued as “Julius Samann Ltd.
  19                                             dba Little Tree dba Car-Freshner
                                                 Corporation”)
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                                                               Case No. 3:17-CV-00863 BTM (MDD)
                                                 2                      DAVIS WRIGHT TREMAINE LLP
                                                                           865 S. FIGUEROA ST, SUITE 2400
       NOTICE OF ERRATA                                                 LOS ANGELES, CALIFORNIA 90017-2566
                                                                                     (213) 633-6800
       4831-6493-0966v.1 0097958-000006                                            Fax: (213) 633-6899
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                   EXHIBIT A
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                   APPENDIX
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                                                  BERMUDA


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                                               GN 470 / 1985

        [made under section 62 of the Supreme Court Act 1905 and brought into operation on 4 January 1988]


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               (2) The notice of a motion must include a concise statement of the nature of the
        claim made or the relief or remedy required.
                 (3) Order 6, rule 5, shall, with the necessary modifications, apply in relation to
        notice of an originating motion as it applies in relation to a writ.
                (4) The notice of an originating motion must be issued out of the Registry.
                (5) [blank]
                (6) Issue of the notice of an originating motion takes place upon its being sealed
        by the Registrar.

        8/4 Service of notice of motion with writ, etc.
        4       Notice of a motion to be made in an action may be served by the plaintiff on the
        defendant with the writ of summons or originating summons or at any time after service of
        such writ or summons, whether or not the defendant has entered an appearance in the
        action.

        8/5    of hearing
        5       The hearing of any motion may be adjourned from time to time on such terms, if
        any, as the Court thinks fit.


                                                  ORDER 9
                                   PETITIONS: GENERAL PROVISIONS

        9/1 Application
        1        Rules 2 to 4 apply to petitions by which civil proceedings in the Court are begun,
        subject, in the case of petitions of any particular class, to any special provisions relating to
        petitions of that class made by these Rules or by or under any enactment.

        9/2 Contents of petition
        2        (1) Every petition must include a concise statement of the nature of the claim made
        or the relief or remedy required in the proceedings begun thereby.
                (2) Every petition must include at the end thereof a statement of the names of the
        persons, if any, required to be served therewith or, if no person is required to be served, a
        statement to that effect.
                 (3) Order 6, rule 5, shall, with the necessary modifications, apply in relation to a
        petition is it applies in relation to a writ.

        9/3 Presentation of petition
        3     A petition must be presented by leaving it at the Registry.




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        9/4 Fixing time for hearing petition
        4        (1) A day and time for the hearing of a petition which is required to be heard shall
        be fixed by the Registrar.
                (2) Unless the Court otherwise directs, a petition which is required to be served on
        any person must be served on him not less than seven days before the day fixed for the
        hearing of the petition.


                                                 ORDER 10
                    SERVICE OF ORIGINATING PROCESS: GENERAL PROVISIONS

        10/1 General provisions
        1       (1) Subject to the provisions of any enactment and these Rules, a writ must be
        served personally on each defendant by the plaintiff or his agent.
                 (2) Where a defendant’s attorney indorses on the writ a statement that he accepts
        service of the writ on behalf of that defendant, the writ shall be deemed to have been duly
        served on that defendant and to have been so served on the date on which the indorsement
        was made.
                (3) Where a writ is not duly served on a defendant but he enters an unconditional
        appearance in the action begun by the writ, the writ shall be deemed to have been duly
        served on him and to have been so served on the date on which he entered the appearance.
                 (4) Where a writ is duly served on a defendant otherwise than by virtue of
        paragraph (2) or (3), then, subject to Order 11, rule 5, unless within three days after service
        the person serving it indorses on it the following particulars, that is to say, the day of the
        week and date on which it was served, where it was served, the person on whom it was
        served, and, where he is not the defendant, the capacity in which he was served, the plaintiff
        in the action begun by the writ shall not be entitled to enter final or interlocutory judgment
        against that defendant in default of appearance or in default of defence.

        10/2    Service of writ on agent of overseas principal
        2       (1) Where the Court is satisfied on an ex parte application that—
                     (a) a contract has been entered into within the jurisdiction with or through an
                         agent who is either an individual residing or carrying on business within
                         the jurisdiction or a body corporate having a registered office or a place of
                         business within the jurisdiction, and
                    (b) the principal for whom the agent was acting was at the time the contract
                        was entered into and is at the time of the application neither such an
                        individual nor such a body corporate, and
                     (c) at the time of the application either the agent’s authority has not been
                         determined or he is still in business relations with his principal,
        the Court may authorise service of a writ beginning an action relating to the contract to be
        effected on the agent instead of the principal.



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                (2) An order under this rule authorising service of a writ on a defendant’s agent
        must limit a time within which the defendant must enter an appearance.
                 (3) Where an order is made under this rule authorising service of a writ on a
        defendant’s agent, a copy of the order and of the writ must be sent by post to the defendant
        at his address out of the jurisdiction.

        10/3    Service of writ in pursuance of contract
        3       (1) Where—
                     (a) a contract contains a term to the effect that the court shall have jurisdiction
                         to hear and determine any action in respect of the contract or, apart from
                         any such term, the Court has jurisdiction to hear and determine any such
                         action, and
                    (b) the contract provides that, in the event of any action in respect of the
                        contract being begun, the process by which it is begun may be served on
                        the defendant, or on such other person on his behalf as may be specified
                        in the contract, in such manner, or at such place (whether within or out of
                        the jurisdiction), as may be so specified,
        then, if an action in respect of the contract is begun in the Court and the writ by which it
        is begun is served in accordance with the contract, the writ shall, subject to paragraph (2),
        be deemed to have been duly served on the defendant.
                 (2) A writ which is served out of the jurisdiction in accordance with a contract shall
        not be deemed to have been duly served on the defendant by virtue of paragraph (1) unless
        leave to serve the writ, or notice thereof, out of the jurisdiction has been granted under
        Order 11, rule 1 or 2.

        10/4    Service of writ in certain action for possession of land
        4       Where a writ is indorsed with a claim for the possession of land, the Court may—
                     (a) if satisfied on an ex parte application that no person appears to be in
                         possession of the land and that service cannot be otherwise effected on any
                         defendant, authorise service on that defendant to be effected by affixing a
                         copy of the writ to some conspicuous part of the land;
                    (b) if satisfied on such an application that no person appears to be in
                        possession of the land and that service could not otherwise have been
                        effected on any defendant, order that service already effected by affixing a
                        copy of the writ to some conspicuous part of the land shall be treated as
                        good service on that defendant.

        10/5 Service of originating summons, petition and notice of motion
        5        The foregoing rules of this Order (except rule 1(4)) shall apply in relation to an
        originating summons to which an appearance is required to be entered as they apply in
        relation to a writ, and rule 1(1) and (2) shall, with any necessary modifications, apply in




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        relation to an originating summons to which no appearance need be entered, a notice of an
        originating motion and a petition as they apply in relation to a writ.


                                                 ORDER 11
                      SERVICE OF PROCESS, ETC., OUT OF THE JURISDICTION

        11/1 Principal cases in which service of writ out of jurisdiction is permissible
        1        (1) Provided that the writ does not contain any claim to which Order 75, r. 4
        applies, and is not a writ to which paragraph (2) of this rule applies, service of a writ out of
        the jurisdiction is permissible with the leave of the Court if in the action begun by the
        writ—
                     (a) relief is sought against a person domiciled or ordinarily resident within the
                         jurisdiction;
                     (b) an injunction is sought ordering the defendant to do or refrain from doing
                         anything within the jurisdiction (whether or not damages are also claimed
                         in respect of a failure to do or the doing of that thing);
                     (c) the claim is brought against a person who has been or will be duly served
                         within or out of the jurisdiction and a person out of the jurisdiction is a
                         necessary or proper party thereto;
                     (d) the claim is brought to enforce, rescind, dissolve, annul or otherwise affect
                         a contract, or to recover damages or obtain other relief in respect of the
                         breach of a contract, being (in either case) a contract which—
                         (i) was made within the jurisdiction, or
                        (ii) was made by or through an agent trading or residing within the
                             jurisdiction on behalf of a principal trading or residing out of the
                             jurisdiction, or
                        (iii) is by its terms, or by implication, governed by the law of Bermuda, or
                        (iv) contains a term to the effect that the Court shall have jurisdiction to
                             hear and determine any action in respect of the contract;
                     (e) the claim is brought in respect of a breach committed within the
                         jurisdiction of a contract made within or out of the jurisdiction, and
                         irrespective of the fact, if such be the case, that the breach was preceded
                         or accompanied by a breach committed out of the jurisdiction that
                         rendered impossible the performance of so much of the contract as ought
                         to have been performed within the jurisdiction;
                     (f) the claim is founded on a tort and the damage was sustained, or resulted
                         from an act committed, within the jurisdiction;
                     (ff) the claim is brought against a person who is or was a director, officer or
                          member of a company registered within the jurisdiction or who is or was a
                          partner of a partnership, whether general or limited, which is governed by



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                       the law of Bermuda and the subject matter of the claim relates in any way
                       to such company or partnership or to the status, rights or duties of such
                       director, officer, member or partner in relation thereto;
                   (g) the whole subject-matter of the claim relates to property located within the
                       jurisdiction;
                   (h) the claim is brought to construe, rectify, set aside or enforce an act, deed,
                       will, contract, obligation or liability affecting land situate within the
                       jurisdiction;
                    (i) the claim is made for a debt secured on immovable property or is made to
                        assert, declare or determine proprietary or possessory rights, or rights of
                        security, in or over moveable property, or to obtain authority to dispose of
                        moveable property, situate within the jurisdiction;
                    (j) the claim is brought to execute the trusts of a written instrument being
                        trusts that ought to be executed according to the law of Bermuda and of
                        which the person to be served with the writ is a trustee, or for any relief or
                        remedy which might be obtained in any such action;
                   (k) the claim is made for the administration of the estate of a person who died
                       domiciled within the jurisdiction or for any relief or remedy which might be
                       obtained in any such action;
                    (l) the claim is brought in a probate action within the meaning of Order 76;
                   (m) the claim is brought to enforce any judgment or arbitral award;
                   (n) the claim is brought for a declaration that no contract exists where, if the
                       contract was found to exist, it would comply with the conditions set out in
                       paragraph (1) (d) of this rule;
            (o) and (p) [blank]
                   (q) the claim is made under the Drug Trafficking Suppression Act 1988;
                    (r) [blank]
                   (s) the claim is made under the Proceeds of Crime Act 1997;
                    (t) the claim is brought for money had and received or for an account or other
                        relief against the defendant as constructive trustee, and the defendant’s
                        alleged liability arises out of acts committed, whether by him or otherwise,
                        within the jurisdiction;
                   (u) the claim is brought under any one or more of the following United
                       Kingdom Acts as applied to Bermuda, that is to say—
                       (i) the Carriage by Air Act 1961,
                       (ii) the Carriage by Air (Supplementary Provisions) Act 1962,
                      (iii) the Merchant Shipping (Oil Pollution) Act 1971.




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   1                                      CERTIFICATE OF SERVICE
   2            I certify that on May 10, 2019, the NOTICE OF ERRATA RE APPENDIX
   3 OF BERMUDA LAW TO SPECIALLY APPEARING DEFENDANT JULIUS
   4 SAMANN LTD.’S MOTION TO QUASH (DKT. 119) was electronically filed
   5 with the Clerk of the Court using the CM/ECF system which will send electronic
   6 notification of such filing to the CM/ECF participant(s) noted below.
   7 KILPATRICK TOWNSEND & STOCKTON LLP
   8 NANCY L. STAGG (CA State Bar No. 157034)
     12730 High Bluff Drive
   9 Suite 400
  10 San Diego, CA 92130
     Telephone:(858) 350-6156
  11 Facsimile: (858) 350-6111
  12 Email: nstagg@kilpatricktownsend.com
  13
                I certify under penalty of perjury under the laws of the United States of
  14
       America that the foregoing is true and correct.
  15
  16
                                                        By: /s/Scott R. Commerson
  17                                                             Scott R. Commerson
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                                                                  Case No. 3:17-CV-00863 BTM (MDD)
                                                    3                      DAVIS WRIGHT TREMAINE LLP
                                                                              865 S. FIGUEROA ST, SUITE 2400
       NOTICE OF ERRATA                                                    LOS ANGELES, CALIFORNIA 90017-2566
       4831-6493-0966v.1 0097958-000006                                                 (213) 633-6800
                                                                                      Fax: (213) 633-6899
Case 3:17-cv-00863-BTM-MDD Document 122 Filed 05/10/19 PageID.1860 Page 14 of 14


   1                                      PROOF OF SERVICE BY MAIL
   2       I am employed in the County of Los Angeles, State of California. I am over
     the age of 18 and not a party to the within action. My business address is Davis
   3 Wright Tremaine LLP, Suite 2400, 865 South Figueroa Street, Los Angeles,
     California 90017-2566.
   4
           On May 10, 2019, I served the foregoing document(s) described as:
   5 NOTICE     OF ERRATA RE APPENDIX OF BERMUDA LAW TO
     SPECIALLY APPEARING DEFENDANT JULIUS SAMANN LTD.’S
   6 MOTION TO QUASH (DKT. 119) by placing a true copy of said document(s)
     enclosed in a sealed envelope(s) for each addressee named below, with the name
   7 and address of the person served shown on the envelope as follows:
   8     Plaintiff Ibrahim Nasser                     Plaintiff Serious Scents
   9     Pro Se                                       Pro Se
         Ibrahim Nasser                               Serious Scents
  10     P.O. Box 5626                                P. O. Box 5626
  11     Chula Vista, CA 91912                        Chula Vista, CA 91912

  12
              I placed such envelope(s) with postage thereon fully prepaid for deposit in the
  13   United States Mail in accordance with the office practice of Davis Wright Tremaine
       LLP, for collecting and processing correspondence for mailing with the United
  14   States Postal Service. I am familiar with the office practice of Davis Wright
       Tremaine LLP, for collecting and processing correspondence for mailing with the
  15   United States Postal Service, which practice is that when correspondence is
       deposited with the Davis Wright Tremaine LLP, personnel responsible for
  16   delivering correspondence to the United States Postal Service, such correspondence
       is delivered to the United States Postal Service that same day in the ordinary course
  17   of business.

  18            Executed on May 10, 2019, at Los Angeles, California.

  19           Federal          I declare under penalty of perjury under the laws of the United
                                 States of America that the foregoing is true and correct and that I
  20                             am employed in the office of a member of the bar of this Court at
                                 whose direction the service was made.
  21
  22                      Lina Pearmain
                          Print Name                                      Signature
  23
  24
  25
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  28
                                                                        Case No. 3:17-CV-00863 BTM (MDD)
                                                         4                       DAVIS WRIGHT TREMAINE LLP
                                                                                    865 S. FIGUEROA ST, SUITE 2400
       NOTICE OF ERRATA                                                          LOS ANGELES, CALIFORNIA 90017-2566
       4831-6493-0966v.1 0097958-000006                                                       (213) 633-6800
                                                                                            Fax: (213) 633-6899
